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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

COMMITTEE ON OVERSIGHT AND REFORM,

UNITED STATES HOUSE OF REPRESENTATIVES

2157 Rayburn House Office Building
Washington, D.C. 20515,

Plaintiff,
v.

WILLIAM P. BARR, in his official capacity as
Attorney General of the United States,

United States Department of Justice

950 Pennsylvania Avenue, N.W.

Washington, D.C. 20530; and

WILBUR L. ROSS, JR., in his official capacity as
Secretary of Commerce,

United States Department of Commerce,

1401 Constitution Avenue, N.W.

Washington, D.C. 20230,

Defendants.

 

 

Exhibit M

Case No.
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THE USE OF CITIZEN VOTING AGE POPULATION IN REDISTRICTING!

This study comments on the practicality of the use of citizen voting age population (CVAP) as
a basis for achieving population equality for legislative redistricting. What this means in
practice is that the total CVAP for a state would be divided by the number of legislative
districts to be redistricted in order to compute an idea district population for each single-
member district. Each district’s variance from this ideal district population would be used to
calculate both the least and most populous district and also to compute the total percentage
deviation (or “high to low”) for a redistricting plan as a whole. Compliance with the federal
“one person, one vote” standard would thus be determined on the basis of CVAP as opposed
to total population (TPOP), as is presently the case. The use of CVAP is not a new concept,
but as of this date, federal courts have not held that it is permissible to use CVAP as a

standard for legislative redistricting.

In Hawaii, courts have ruled that registered voters may be used as a population base for
legislative redistricting. This practice was adopted to remove non-resident military personnel
from the redistricting population base, and to avoid the creation of legislative districts with
extremely high percentages of non-registered adults. The courts, however, have also
mandated that the TPOPs in the districts must be closely related to the district deviations
based on registered voters. Appendix | discusses these court rulings in more detail. This

practice is still tied to total population.

In addition, the removal of prison inmates housed from other states has been allowed in 3
states in the 2010 redistricting cycle (Delaware, Maryland and New York). This practice,
often referred to as “prisoner adjustment” also moves the counts for domestic inmates in state
prisons to the location where they lived before being incarcerated (prisoners not from out-of
state). Democrat allies are now lobbying the Census Bureau to include this practice in the

2010 Decennial. Prisoner adjustment is generally believed to be favorable to the Democrats,

 

1 This study does not constitute professional legal advice and is not intended to be substituted in place of advice from
qualified legal counsel.

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but may, in some states, be less favorable to minorities. This, of course depends on the

locations of the prisons. This practice, however, is still tied to total population.

As of today, the use of CVAP is limited to an evaluation of minority voting strength in
districts protected by the mandates of the Federal Voting Rights Act (sometimes, also, to
evaluate compliance with state and local civil rights provisions), and is most commonly used
to determine the ability of Latino voters to have equal opportunities to elect their preferred

candidates of choice in newly enacted districts.

The use of CVAP in redistricting has always been difficult. In decennial censuses prior to
2010, a citizenship question was included in the long form questionnaire which was
distributed to approximately one in seven households. This information, however, was not

available until after most states had already completed their line-drawing process.

For several reasons, the Bureau of the Census decided to discontinue the use of the long form
questionnaire for the 2010 Decennial Census and to depend exclusively on the short form
Questionnaire, which did not include a question on citizenship. The two primary reasons
given for this change were cost savings and an increase in the initial percentage of

questionnaires returned by mail.

As a replacement to the long form questionnaire, the Census Bureau instituted the American
Community Survey. To quote the Census Bureau: “The American Community Survey (ACS)
is an ongoing survey that provides vital information on a yearly basis about our nation and its
people. Information from the survey generates data that help determine how more than $400
billion in federal and state funds are distributed each year.” Each year, about 3.5+ million
households receive very detailed questionnaires of which about 2.2 million are successfully

returned. This represents a 62% return rate.

In the version of the ACS data used for redistricting in this cycle, the questionnaires from 5
years were compiled together into a report released in late 2010. This included the samples

collected in 2005 through 2009. The number of questionnaires included in the 2005 through

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2009 sample was about 9.5 million. By comparison, about 16.2 million households would
have received a Long-Form Questionnaire had its use been continued in the 2010 Decennial
Census. This means that the accuracy of the ACS sample is significantly lower than the long
form sample would have been. In addition, the use of a 5-year rolling sample was much less
reflective of the actual characteristics of the population at the time of the actual 2010
Decennial Enumeration. which would have been a one-time snapshot taken in mid-2010
(April to August). Even if a majority of the justices on the U. S. Supreme Court are
sympathetic to the use of CVAP, it is not probable, in my judgment, that they will accept a
rolling 5-year survey in lieu of an actual full enumeration for use in redistricting or

reapportionment.

Another issue with use of the ACS in redistricting is that the accuracy for small units of
geography is extremely poor. This is particularly true for Census Tracts and Census Block
Groups. In some cases the confidence interval for a Block Group exceeds the actual range of

the data, creating negative numbers for the low point of the confidence interval.

Another problem with the ACS data is that the units of geography by which the ACS is
compiled is different from the geographic units used in redistricting. Almost all states are
using Census Voting Districts (VTDs) are preferred as the basic geographic building blocks
for creating new districts. WTD boundaries generally follow precinct boundaries. ACS data
are simply not available for VTDs, and any estimates of CVAP populations for VTDs would

be even more inaccurate than the ACS estimates for Census Tracts and Block Groups.

For those states in which CVAP estimates for legislative districts have been compiled,
determinations have been required to compute the percentage of each Census Block Group’s
population which is in each legislative or congressional district. The CVAP statistics have
been summed for all the block groups which have either 50% or 75% of their population in an
individual district and these estimates have been imputed to the total adult populations of the
districts. The Texas Legislative Counsel’s report (Appendix 3), contains the confidence

intervals for the estimated of Texas House district are generally from 2 to 3 percent.

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In many states, such as Texas, experienced redistricting experts have relied much more on the
use of ethnic surname matches against the registered voter file to determine Latino voting
strength, rather than estimates of the percentage of adult citizens who are Latino. Of course,
since the population base for compliance with the one person, one vote rule has been TPOP,
ethnic surname and CVAP estimates have only been used as indices of probable district

election performance for Latino candidates.

Another issue to consider is whether or not CVAP, or just total citizen population (CPOP),
would be the proper base, should the U. S. Supreme Court determine that citizenship should
replace TPOP, which is presently in use. So far, courts have not even accepted the use of total
voting age population (TVAP or VAP) as a redistricting standard, so it would be a high leap
from TPOP to CVAP as the new standard.

All this leads to a possible conclusion that without a congressional mandate for the United
States Census Bureau to add a citizenship question to the 2020 Decennial Census form, or
such a mandate from the Supreme Court, the relief sought in the Evenwel case is functionally

unworkable.

The other important topic to address are the political ramifications of using CVAP as the
redistricting population standard for one person, one vote compliance. Would the gain of
GOP voting strength be worth the alienation of Latino voters who will perceive a switch to
CVAP as an attempt to diminish their voting strength? That, however, is not the subject of
this study.

By mutual agreement, a study of the effect of using CVAP instead of TPOP as the
redistricting population basis for drafting a plan for the Texas State House of Representatives
has been commissioned. Demographic information on the current 150 State House districts
has been obtained from the website of the Texas Legislative Council. Since State House

districts are roughly equal in population they are appropriate for such an examination.

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A spreadsheet containing information on each of the 150 State House districts in Texas has
been compiled. There is one row for each district and each row contains 15 columns of
geographic, demographic and political information for each individual district. This
spreadsheet has been sorted in 6 different orders which make up Tables 2 through 7. The
column header by which the table is sorted is shaded purple. An explanation of each of the 15

columns can be found in Appendix 2.

Table 2 is sorted by district number (Column A).

Table 7 is sorted by the population deviation measured in terms of TPOP (Column M).

Table 3 is sorted by the population deviation measured in terms of CVAP (Column OQ).

The population deviations for the current districts, as measured in terms of TPOP, ranges
from 4.83% above to -5.02% below the idea district population (Table 7. Column M). The
ideal population is the sum of the base population (either TPOP or CVAP) divided by the total
number of districts. The range of deviation from the most to least populated district is 9.85%
(total deviation), which is below the 9.99% range acceptable under the provisions of the
United States Supreme Court’s “one person, one vote” rule. The deviations of the 2003
House district could have been lower. They are as high as they are because Texas’
Constitution has special provisions for the redistricting of it State House of Representatives
which mandate keeping districts within whole counties or groups of whole counties. These
provisions, however, may, to some extent, fall by the wayside as a result of the current federal

court lawsuit challenging Texas’ adherence to the Voting Rights Act in its latest redistricting

(2003).

When CVAP is used as the population base, the population deviations for the current State
House districts increase in range from a high of 20.47% to a low of -40.38% with a total
deviation of 60.85% (Table 3, Column O),. This deviation is clearly unacceptable under the

“one person, one vote” rule. If the Supreme Court were to impose CVAP as the proper

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population base, and mandate its application to the districts for 2016, a radical redrawing of

the State House districts would be required.

POLITICAL AND DEMOGRAPHIC EFFECTS OF USING CVAP

There are several general rules related to redistricting in general which should be discussed at

this point:

1. First, the party which controls the actual line-drawing process, in most instances,
possesses a huge advantage which outweighs almost all other factors influencing the
redistricting process. This would be equally true if the population base were to be

shifted from TPOP to CVAP.

2. Second, redistricting has often been described as a “game of margins”. Many times a
shift of two or three precincts into or out of a district can significantly alter the
political characteristic of that district. As an example, if a district is solidly
Democratic and the Republicans are drawing the plan, the Republican will almost
always add additional heavily Democratic precincts to that district to improve their
advantage in surrounding districts. On the other hand, if Democrats are doing the line
drawing, they will often submerge heavily Republican precincts into a strong
Democratic district to improve their chances of electing Democrats in the surrounding

districts.

These factors would also apply for Texas if CVAP were to become the new population base.
In the case of Texas redistricting, the ability of the party in power to overcome a switch to
CVAP would be somewhat limited in State House redistricting because of the mandate to

keep counties intact — particularly if the Democrats regained control.

Table 4, which sorts the existing House districts by percent Hispanic CVAP, demonstrates
that considerable population would have to be added to a majority of the Latino districts to

bring their populations up to acceptable levels of deviation (Table 4, Column H). There are

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presently 35 districts with HCVAP percentages over 40. As a whole, those 35 districts only
contain sufficient HCVAP populations to comprise 30.1 districts (See the green shading on
Table 4). As would be expected, the remaining 115 districts have sufficient combined

HCVAP populations to comprise 119.6 districts.

Table 6 sorts the districts by the political party of the incumbent State House members (See
Table 6, Column C). The 97 GOP districts have sufficient CVAP populations to actually
form 103.2 districts, while the 53 Democrat districts only have sufficient CVAP population to
comprise 46.8 districts. Use of CVAP would clearly be a disadvantage for the Democrats.

Since all of the Republican and Democrat districts are not located in two distinct areas, it is
helpful to examine the effects of switching from TPOP to CVAP as the population base by
regions. Texas has been divided into 13 regions comprised of whole State House Districts.

Those regions are show on Maps | and 2. The regions are:

Dallas-Ft Worth and suburbs (3 regions)

Houston and its suburbs (2 regions)

Austin and its suburbs (1 region)

San Antonio and its suburbs (1 region)

El Paso County (1 region)

The Rio Grande Valley and South Texas (1 region)
The area southeast of Houston (1 region)

The northeast area of Texas (1 region)

eC FN DnY FKP YP

The central area of the State, roughly between DFW, Austin and Houston (1 region)
10. The areas of West-Central and Western Texas (1 region).

These regions certainly are not in any way official, but are sufficient for this redistricting

analysis.

The data for these 13 regions may be found on Table 5 (which is sorted first by Column B and

then by Column A) and demonstrates some interesting characteristics. This table compares

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the number of projected CVAP-based districts which would be contained in these 13 regions
to the number of actual Texas State House districts presently located within them (the 2003
House Plan). The combined CVAP district deviations within each region have been summed
to determine the number of districts each region would be entitle to using CVAP as the
population base. These data are summarized on Table 8, and correspond to the green-shaded

areas on Table 5 (found in Column O at the bottom of the section for each region).

The use of CVAP as the population based would cause a loss of relative population (and, thus
districts) in the Greater Dallas/Ft. Worth Area (-.7 districts overall), with the greatest loss in
Dallas County (1.7 districts). Harris County and its suburbs would lose relative population
(1.7 districts overall), with a loss of 1.9 districts being slightly offset by the gain in the
surrounding suburban counties. The greatest loss would be in South Texas, El Paso and the
Rio Grande Valley which would lose 2.6 districts overall. All other regions of the State
would enjoy relative gains in population, with the greatest gains being in Central as well as

West Texas’ rural and semi-rural counties.

Even within the individual regions (Using Table 5), an inspection of the CVAP deviation
percentages of Republican versus Democratic districts shows that the Democratic CVAP
deviations are generally negative and the GOP deviations are generally positive. The means
that Democratic districts could geographically expand to absorb additional high Democrat

precincts from adjacent Republican districts, strengthening the adjoining GOP districts.
CONCLUSIONS
e A shift from a redistricting population based determined using total population to adult
population is radical departure from the federal “one person, one vote” rule presently

used in the United States.

e Without a question on citizenship being included on the 2020 Decennial Census

questionnaire, the use of citizen voting age population is functionally unworkable.

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e The Obama Administration and congressional Democrats would probably be
extremely hostile to the addition of a citizenship question on the 2020 Decennial

Census questionnaire.

e The chances ofa U. S. Supreme Court’s mandate to add a citizenship question to the

2020 Decennial Census are not high.
e A switch to the use of citizen voting age population as the redistricting population
base for redistricting would be advantageous to Republicans and Non-Hispanic

Whites.

e A proposal to use CVAP can be expected to provoke a high degree of resistance from

Democrats and the major minority groups in the nation.

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TABLE 1

American Community Survey (ACS)
Sample Sizes by Year and Type

 

 

 

 

 

 

 

 

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2012 3,539,552 | 2,375,715 | 208,551 154,182 137,086
2011 3,272,520 | 2,128,104 | 204,553 148,486 150,052
2010 2,899,676 | 1,917,799 | 197,045 144,948 N/A
2009 2,897,256 | 1,917,748 | 198,808 146,716 N/A
2008 2,894,711 | 1,931,955 | 186,862 145,974 N/A

 

 

 

 

 

 

 

 

 

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19'0 Oe T- LOv'I- 16'I- 10cE- 9°L6 9T- £3949 T'8z _|SZS°901 |6ss‘o1t |oer‘ro1 a wexog SII
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c€7 10°S 80r'S 39°7 Zor 3°59 l€- 16 09 L'69 |O6EELT |96z‘0Et ozI°ZZI U sqingng MAC 99
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for's 8L'8 €8b'6 6TE ZISS v'S6 l¢e LL9 19°49 O'8Z —|SOFLIT |oes'szI |6rl‘ezT df AA DUXOLS | FE
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€lel- (SIOLNSIC S€) WoHBTAa] asBIDAY
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[6r's 8L'8 €8h'6 67E ZISs v'S6 Te- Lug |9v9 O'8Z —|SOPLIT |o6s‘szt_ fori‘ezt Gf AIA DYXOLS | rE
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SHALLIINASH ada AO ASNOH ALV.LS
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LV 69°9- CCCL- 8r'T Solr z'89 SL- vee |L9oT 8S  JO9L‘OOT |zse‘zzt_ |zos‘IZI Y Aquy seyed SII
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O€'0- 76'0 866 ZZ] Lv0T Z ER 6L- 697 __|0'6E SIS 086801 |sEs‘ozi__|7s9°691 w SEXO], 189M, 18
AC dOdL % | UonvMeg | uoHuAeg | uonuAeg | uoneAsg | GVAH% | dVAQH% | dVAH | dVAOH | Ofuy
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9ZT JO G/ aBed GT/TE/GO Palla T-G6GIUaWNDI0q WWC-TZ6ZO-AD-8T:T aseo

 
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6007 F8N0.1G) S007) SOV O1OT Moy Ss BIEP TVAD :210N
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“LEN LOT S] WONG JOAL HP! PLL “Z786LOT SI WopEtNdog CVAD [2puy aL :290N

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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9ZT JO 9/ aed GL/TE/GO Pally T-G6GIUeWNI0q SAWC-TZ6Z0-AI-8T:T eased

 
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OTE Or'T- LIS‘T- Lot 9S9L- 0°€6 laa L799 €'8S $87  |sor'901 |zzrrIT |186‘6sT ad Iexog 6
190 0€ T- Lov‘T- 16'I- 10ZE- 9°L6 9'T- L'39 TL9 L'8Z  |SLS°901 fess‘ort josr‘roT d Jexog 8IT
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So'P £6°9 sar'L 877 978E €S6 87" 66S TLS EZE JOLP'SIL |ezszet eorTLt d Jexog 91T
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6S'8- (SILNSIC pT) UoNBIAaC o#eIOAY
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sor 08°T- 7r6'T- 9TT I8Ze 9°8S 8°O1- 0°97 ST Ges OvO'SOT |res‘ozl [SIP TZT ua Ayu seed ell
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TSO wy 86L'V f6€ 9869 OLS 9°8- 0°07 Las! ET OSL'ZIL Juve'zel ecerLt dq AWD seed 60T
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LYC- 90°0 €9 ST Setr s'Es eT 6°87 9°ST GLE  |SrO'ROT jose'ect |7z8°TLZT a Aqup seyed LOT
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Es tt L3°9 eIv'L LO'v- T@8L- r'79 c9- 9°9T £01 3°78 S6E SIT |psctzI_ |o1s‘6sT ua sexo], [eQUS_) 02
cE9 vse erly 8h 7- LSIt- 6°08 F'9- PEE OLZ VI19 SZLTZLL |s6z‘tzt josr‘eoT ua sexo] [eQua;) LI
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Case 1:19-cv-03557-RDM Document 1-3 Filed 11/26/19 Page 26 of 50

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9S TT- 88°ST- TSULI- cfr CSCL- 916 v9- 0°92 9°69 6%  |OE8'06 |rz6'sTT |sse‘o9T d osed 14 LL
6S L- OE CI- LL7EI- OL T- S88L- L'S6 Lee £18 o'8 TIL SOL'V6 |6seOIT |ZSZ‘6sT qd osed Td OL
ES'€c- LT8C- LTS‘OE- PL y- SP6L- 0°L6 8°C- 816 0°68 ak SSV'LL_|60z‘e01 _[169‘6ST d osed 14 SL
AC dOdL% | TonEAIg | UeHELag | UOHEAaG | ueHEAIG | UVAH% | dVAQH% | dVAH | dVAQH | SIs0y
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LSS ST8 £168 89°T TOsv 0°89 Cr OT 68 VL S689IT jose'sit |sercet a sqinqns MAd 68
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VEO £0°€ 89T€ 69°C POSP O'S r'9- 6'€T SL TOL OST TIT |soeoct |iri'zZt ua sqinqns MAC L9
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fore LTT 89CT el I- S681- SS 8°8- 9°8T 3°6 €7Z9 |OSE'6OT |izerzl | ZrL‘SoT u sqinqns MAC S9
978 v8 £68°8 £0°0- 6b- 8°09 $'9- 9°9T Or OSL CLEOTL |cct‘6zt | 8gs‘L9T a sqingnS MAd +9
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Case 1

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SO'LI- 9T'ST- LOC‘OT- 68'T PLIE ZL O'LT- T'19 cer TOr |Si9°l6 fezg‘szt [TTs‘ozT ad AWD sTeH 8rT
f0s'T 1v9 €%6°9 16 9EZB 0'6S 8°7I- CTE v'81 682 |SO6rIT |rEo‘oEI fezs‘szI ad AyD swueH Lei
LO°FI- 66°6- L8L‘0I- 60°F 8b89 O'Ir U91- €LZ Zl Lt |S6l'L6 |rrroct |ssr'rt ad AWD swe] oF
TL'07- VS CC- LEE VC- €8'I- €90€- L'6L (Gale 869 ss y'8z |cr9°es |ste‘oIT |rzs‘r9l a AWUD SLB Stl
LE9C- 78 67- L6I‘ZE- cre: BLLS- VTL S'6I- 8°69 €0S 6VE |S8L°sL |eos‘sot j6ss‘I9oI ad AWUD SLB vel
Ig 17- €9'IZ- LSE“E7- SZ0- (Goa POL P'9T- p69 ores Let |szo'v8 |eze‘ett |stz‘L91 ad AWD sLueH al
TT'OT- +6'rI- LET‘9I- €8'r- 9608- 3°09 L'€I- O'sE €1Z £07 |sps'le |ssc‘ert [1rs‘6st ad AWD s1eH (Gal
9L'€I- br'vi- 76S°ST- 39'0- 6EII- v8 v'6r- OLE 7ST SEL ]06E'%6 |IseEIT |sor‘99I d AWD sTueH Trl
OS *LE- ZL'SE- L9S‘SE- ssl S60€ ELL CLI- SSL SS TLL |Siv'69 |zeszit |zez‘oxt d AyD swueH ial
ZL TI- 68°9- Chr‘ L- es y 9608 Z ES L91- sse — [O'6T 91Z |OrS‘OOT |szs‘ezt eez‘szt ad AyD suey 61
160°ZI- 98'8- 79S'6- ETE cvs Ors 0°6T- Ely [ez COS 0zr'86 |serrcl |6so'ELT a AWD ste SET
pb Cb- 8 0r- L09°€t- S0'7Z Zrbe 9% 9°67Z- STs 0°77 St |SLEev9 |vesezt |6Lo'TLt ad AWD suey LET
I8r'O1- 79'L- ZEC'8- SB'z S8LYV 0'r9 €0I- $8t [ZS OOS |0SL’66 |oct'tcl |zzr‘cLt u AWUD sTeH SET
| ao €v'07 8S0°7 SOV v8L9 9°78 €7- eel OIL Lyk  |Ov0'OET |szs‘ert |izr'ret a Ayu swueH vel
ZB€ 90°9 Ae) StT VOLE 9°¥9 c's- Lvl 56 TOL |OES*HIT lezr'set |rortz1 a Ayu swueH €€l
101 'Z- 80'T sor'T Sle SEES S79 vZI- oe  o0z cS  |OST’60T |999°LTT eze°zzI u Ayn sLueH ET
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LOT irae 8rE'ST SLE 1879 3°88 Ze 18% |6'bz T'L9  |OEEETT fooezz1 |gie‘ezt u SEXO], ISOM €8
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139°8 ary 8LLb str 67IL- 169 Ls: S81 871 608 |O9Z°CII Izrs‘tzt_ |sos‘o9T u SBXO], ISOM 89
IT‘9T 8e8T €r8°61 977 Z6LE O'8L 9°7- SII Z6 698 |SzBLZ1 lozstet |6zrtzt a SBXOT, ISOA\ 09
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Joss 89 £68°9 cU't 9SSE- 3°89 T'€ 36 L'9 Leg |SL8v11 |eso'rit |180°v91 u AyUD you], 86
SO'ET 6L'ET 888°rl1 €L'0 (axAl £79 6°S- Lst 8°6 SOL |OL8°7ZI Jitter |698°89T a AyuD Juoue I, L6
46s'7 860 ESOT 19'I- LOLZ- 5°99 T's- ZST TOI ¢'S9 |SEO'6OT |rzeeIT foca‘roT u AVUD Jour J, 96
ISeL- 96 0I- ZEST I- 8S'E- €009- O'ES PIT: ere |e 6CE JOST°96 Izsz‘sTI |PE9‘TOT ad AVUD your J, 66
16'S SL's E179 9T0- €97- £99 ZS Esl Zor 869 |S6IVIL fots‘szt |pze‘LoT u AVUD Woe J, +6
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Z0°9 B9'€ 8L6°E PEC LIGE- CEL 1'9- Lt |991 86S O96 TIT |oez‘ezt fozz‘eor aU ft sqinqng uojsnoy fF €z

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98°ST 07 LT 8LS‘8I ET 1S@Z OLS 1'9- (al 18 €IL |09s‘9zT |zzs‘zet_ |sss‘6o1 a XL Jsvoyjnog 81
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SLz ¥9'0- 769- 6C €- 069¢- 109 6S: Lvl 188 T'9L |O6Z°LOT |gos‘o1l |zv6'19o1 u sqingng MAd ff 901
Z0'9T- 61 II- 780°CI- esr 1608 v9 UsT- Z6E [Tb TTS  |006°S6 foes‘zz1_ |gzz‘szt u AWD seyed sol
Er'9- TE OI- CEL TI- 8 €- 10S9- 89r 8°ZI- Tez |e II o's9 —joss’96 = lozs‘zzt__|oeTI9or u AUD seyeq zOT
fos9 618 8r8°8 69'T 9E8TZ TEL ib S- 10z Lv Lye  |OEs oll |eze‘szt fecr‘ozt u Agu ywouRe], 66
Joss 89 €68°9 (46 9Sse- 8°89 Te: 36 Lg Les |SLevil |eso'rtt |180'r91 u Ayuy JuoUe I, 86
SO'ET 6L ET 888°b1 €L'0 ZETI E79 6'S- LSI 486 SOL OL8‘ZZ1 |I1¢TEt fo98‘sor u Ayu.) yuOUe J, L6
16S'7 860 €S0'T 19'T- LOLT- g99 Us- zsT TOT ¢'S9 |SE0‘60T |rzo'eIT foce'r9r a AyuZ yuo I, 96
16'S SL's E179 91'0- €97- £99 ZS- est |zor 8769 |S6Iv1l |ots‘szt |ree‘.9o1 U AUD JOU I, +6
€6'0- 61't- L7S*b- LTE 9LtS- 0°s9 0°8- 87 [841 [v9  |SSr°eOl |rss‘ert |r9t‘zor u AWUD OLB, £6
f0S'TT €£'8 866°8 LV€- ITES- 199 or Syl [96 €OL [O86°9I1 losz‘9z1 foze‘zor u AWD JS I, 26
99°E 080 £98 98°C 66Lt- 709 (aa c'8I 601 6SL  |SP8'°801 |sro'6It |ses‘zor a AWUD JuouE J, 16
LS'S 4) £168 89% 10S¥ 0°89 (Ga O'el 68 VCL |S68°9IT jose’sit |serczT u sqinqng MAC 68
€0'0 66 €- CIEb- Z0't- IpL9- LS 6 68e  1W6e 6:09 |OL9°EOT |zz9'stt |o68‘09T u SEXO], ISOM 88
9L'Z- veT SECT 00'r 90L9 EEL 6L- L6t ‘| 8'1Z O'S9 |OZE6OT Joge’szt_ leve'rzt u SEXO], 1SAA\ L8
188 SEL Ef6L 9or'T- bSPC- GEL 8°S- ez  |s91 VOL |SI6°SII |sss‘tzt_ jest‘sor u SEXO], ISOM 98
ZS 0- L6'v- Z9E'S- Sete SS¥L- SSL 9°L- Tse SL €8r |OZ9'ZOT |ecreIl [781091 U_ ff sainqng uojsnoy | cg
JOL'+1 06'r1 €60°9T 07'0 €£E 8°76 (aa ZOE —_f0'8z LS  |SLO°VZT |sos‘szi |oz6‘L91 a SEXO], ISOM +8
Lv'Ol Ic +I 8rE'ST SLE 1879 8°88 Ze 18z__|6'rz L'L9 [OEEETT looe'zz1 [si6'EzT u SBXOI, ISOM. €8
99'L €0°S Eey's €9°T- €0rb- Z18 9°9- TSE 19°87 €6S |SIP'EIL fezo’sil |rEz‘eoT u SEXO], ISOA\ 78
J0¢'0- 760 866 ZT LvOT ZEB 6L- 69 [06 SIS |086°801 |ses‘ozt_ |rs9°69T u SBXO], ISOA\ 18
SELT 18°91 Sr'8T sS0- 816- 9° €8 ee sol |99T L6L  |O€l9ZI |zgsuzt |6rz‘991 u qexog EL
18771 86°€1 €60'ST OL'T Zr8Z £8 8 Eze  |9LZ 99  |SLO'ETI |Izz‘OET fozr‘OLI U SBXOT, SSAA ZL
r6'F1 Is'tT 399°ST €r'0- €lL- P68 U'2- LOZ |6LT TIL JOS9ETT |z60'cz1 [pz6‘99T u Sexo, 89M. IL
110 6L'7 El0'e 89° 86h 679 6S- 6st O01 ESL [S66 OIL |zerzi1 |ser'zZt u sqinqug MAC OL
LZ'ET LL’8 8976 OS OSSL- eS ce 67  |L6 TLL  |OS¥'LIT |e90‘ezI _|z80°09T u SEXO], ISOM 69
439°8 cry SLLb Str 6ZIL- 169 Ls- ssl scr 608 |O9L‘°ZII |zrs‘izt_ |sos‘o9r u SEXO], ISOM 89
ve €0'€ 89TE 697 OS O'vs v9- 6'EL CL TOL JOSZ IIT |soe‘ozt |ivt'zt u sqingng MAC L9
E€T 10'S 80r's 397 Z6ry 3°59 T'€- 16 09 L69 |O6EELT |o6z‘oet fozr'zZI u sqingng MAC 99
for'z LTT 89E'T eT T- S68I- STS 8°8- 981 186 €79 |OSE'6OI |iLerz1 | ZrLSoT a sqinqns MAC 69
978 v8 €68'8 €0°0- 6r- 8°09 ¢'9- 9°91 101 OSL |SL8°OIT |szt‘ezt |ess‘z91 u sqinqng MAC 19
Joe's 17s €79°S 8T'0- O0€- z19 I's Tel 08 8708 |SooEIT [reo'stT |zee‘z9o1 u sqingqng MAC €9
IgE ET 18'8 8756 pst PI9L- 0'6r vr 9°8 zy O's8  OES'ZIT |eoz'zz1_[Ezo‘oor u XL seoyON 7
18S'€1 09°81 £80°07 Z0'S LIv8 69S oF 901 joo $88 |[S90°8Z1 |zsz‘oct |rso°ozt u sqingng MAC 19
IT91 8E81 €r8'61 977 Z6LE OSL 9°7- SII 176 6°98  |Sz8°LZ1 lozs‘tet jezrtZt u SBXOT, ISOA\ 09
TL TT I€6 84001 Or Z- 8Z0r- TEL (Ga 9ST |e 6'SL  |O€O°BII |e6r‘zzt |609°e9T u sexo], [ejUID 6S
Lvs Le6 EZTO1 060 60ST 88S 1'9- 6rvl [28 Tv8  |SOLSIT jozs'ezt lort‘6o1 u Sexo], [ejUI) 8S
eel Ir'6 SsTOl 26" I- 617E- sss 8°S- O'eL  [eL SL |OFI'SIT jocorct |sir‘ror u X.L seayjnog LS
IS TT 97'6 £00‘01 STC B9LE- L'69 vS- SLI rel QTL |S86LIT [IIr‘ect |eo8‘EoT u SEXO], [B.UED 95
LZ 11 10°8 €69°8 97'E- 19¥S- SOL cr v6l jer v9 |SEoOIT [sso |ozt‘zor u Sexo], [e.NUaD ss
ZO'r 80°F €0r'y 90°0 66 568 61- O°LT 8°ST 91S |SSETZIT |Por‘LIt |oec‘L91 ua sexo], [equeD vs
I7LI Berl EEs‘sT €8°7- OrLr- £98 Le 897 ITEZ TCL |SIS*EZT |isezzt |z68‘z91 u SEXO], ISOM €S
A290 dOdL % | wonviaed | uoneaeq | wonumeg | uoneiAeg | dVAH% | dVAJH% | dVAH | dVADH | OB@UV
- A290 dVAD % | dVAD % dVAD dOdL% dOdL__| /dVAOH% | -dVAH% | LOd Lod toa | TVA9 | AVA or |Aued | mssovery | id

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97 ZI- Tr'sI- Le9‘91- STE 08zs- S06 el 99L  |r'69 9v~ |SPEI6 joec'stt |zsecor df AeA DUXOLS | rl
9L'EI- S6'8- 799°6- Z8'P ZLO8 €8L e- Z9S  |0'rr Clr |OZE86 |eez‘szt_ |6oz‘szt ad vary unsny 1s
ZTE SSZ ESLZ L9°0- IZII- 669 9L- est “Li CLS  |SEL‘OIT [zsz‘ver_ |ors‘o91 a vary usny os
99°07 Lv'07% €0T'7Z 07'0- 8ZE- 799 €Ll- 91% [eI Te  |Ss0°O€1 |ize‘rrt |60e‘zo1 ad vary unsny 6
OTST 9€81 87861 OZ LES 618 Le Ae VvL |OLSLZ1 |sss‘set |soo'szt ad Bory unsny 8
16 TI- v9 TI- Lv9'€I- €L'0- L@1- €'6S 69I- 91h  [9'r 9Ir |SEeve joess‘stt jorr‘991 ad tory unsny oF
IT'@- 60°7- LS8°€7- Z0'0 T€ 6'S6 6: 0'S6 —|Z'16 vs SZLb8 JeooTIT |899°L91 df AURA DAXOLS | Zr
Se°sI- LV'81- L19‘61- 39°0 6€IT Z'r6 9+ v03 — |L'SL GLI |S9ER8 feso’stt |oze‘so1 a | AIPA DYXOLS | Ir
79'97Z- €0°9C- LOT‘'8Z- 19'0 SzOT 6'S6 B°E- 1% = [r'88 78 SL8‘°6L joso'so1 |z99°891 Gf AIPA DYXOLS | OF
188° 1Z- LIC L96‘CC- 19°0 ZZOT L'68 16 088 |68L OVI |StO’ss |Isz‘ort fes9‘sor Gf AMA DYXOLS | GE
96'v1- 79'bI- L8L‘SI- EO LLS 9% 19- L98 1708 CEL [S61'%6 [sos‘orl |riz'sor Gf AeA DYXOLS J BE
18°L7- $6°97- L60°67- L8'0 ISrl 9°€6 9°S- Tig [S18 Sl [S8s'sc |rsrett |ss0°6o1 Gf AeA DYXOLS J LE
SEOE- 96°67- 776 TE- 6L'0 9ZEI Lv6 Br 806 10°98 611 |090°9L |eo6‘oIT |e96'soT df AA DUXOLS | 9E
PL 8C- ST'87- L6E‘0E- 65°0 066 L266 z9- 1s8 682 981 |S8S°LL |rst‘6ot |zz9°891 df AWA DAXOLS | SE
\or's 8L'8 €8b'6 6TE ZISS V'S6 T'€- LL9 19°49 O'8Z |SOFLIT Joos‘szl |6ri‘EzT df AWA DUXOLS | PE
P6'S- tr’ €- L69°¢- cst 1% 1'S6 S°E- LLL |6€L Et |S8ZPOT [eeoTzl |sss‘IZt df AWA DUXOLS | TE
{601 Ir'€- L89°€- Sa €SSL- vSL a Lol sv 797 |S6THOT Joos‘eIT |r80'09T df sqimqng uoysnoy ft LZ
JOE 01 669 rs L Ov'€- LLOLS- 0'6r 0°8- ect ee OLE ISZS SIT [uosizz1 OES 191 GL XL seomnos ZZ
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460°71- 98°8- 79S°6- ETE zzrs Ors 0°6I- a ee eos oze's6 |serrzt |eso’ezt u wo}snoy 8
[872 €£'S 8SL‘S S6- 19ZE- V6L vee ok) ee 4! SL |OPLEIT [I9¢911 |ozevor u vory unsny SEI
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ISC91 €v'07 850°7Z S0'r 8L9 9°78 et: eel Ol LL  \OvOOET szs‘ert |izrvet u wo}snoH vel
Z8€ 90°9 8rs‘9 StT POLE 9°9 z's" Lvl 56 TOL OESHIT lezr‘set |lor tz1 a uo}snoH €€1
JO1'- 80'T 89T'T Sle 9EES ¢79 iv ZI- O'ce [9°07 VCS  |OST’60T |o99°LTT feze'zzI u WoysnoL] zEl
179 7601 88L ‘TI IL't G68L €S9 Z9- LL TI 9IL |OLL611 |sorezt |zes‘szt u wo}snop O€T
Pr's ZETI 867 ET LSE 06r9 99 8°9- vz —-|9°€T 679 OST IZ fesroet |Lzi‘rLt u woysnoH 6z1
IL WL 8€0°8 ELT rss 39 6L- O'St ULI ¥'99  |OZOOTT [sro'rel |IZ7CLT u DoysnoH 8Z1
Z0°8 8's 80¢°9 8I't- PS9E- 9°89 Ls: st [rz 149 |06Z°FIT |sog‘stt |ege‘coT u woysnoH L7I
L6'8- 10°8- Lv9'8- L60 619T zg 66 9% JOLT SIS |see66 |rto‘ezt fosz‘6or U o}snop 971
18S '01 80°ST 88791 OS'r LYSL vrs er SLZ WET 879 |OL7 P71 |szz‘szt_ |st'szt u qJexog zl
90°ST 8E61 £76 0% ler O€ZL Z'S8 oF rie  |zgoz O19 |S06°8ZI [rect |z98"rLI u rexog IZT
177 p87 £90°€ €9°0 ssol 9°01 TZ 88S 16°09 ECE [SPOIL fozt‘ztt |z69°soT u Texog LU
LT 6" 69°9- CCT L- 8r'Z solv Z'89 SL vee [Lor ¢8S  |09Z‘O0T |cse‘ect [cos‘IZI a Ayu seyeq SIT
90°S- 97 '7- Crh e- 08'% £697 9°SP cEl- Zre  |O UL 789 jOrS*sol [zts‘oer jocezzt u AyuD seyed vLI
S0'r- 08'T- Tr6 T- 97% ISLE 9°8S 801- O97 Est ces  l0r0'901 |res‘oct [sirIZt u AUD seyed €ll
€6'8- 876- L10°0I- SE0- 98c- 9S SII- £97 8b 6vs |S96°L6 |z6l‘oz |IS0°L9I ua AyD seed raat
180°9T Sv eT €S‘bT 69'°T- Orr 69 0°9- St ee Ev.  |SOS‘ecl |zo9°cer Jeez‘eot u Aqup seyed 801
A290 dOdL % | wowed | uoneaeq | wonumeg | uoneiAeg | dVAH% |dVAJH% | dVAH | dVADH | BUY
- A290 dVAD % | dVAD % dVAD dOdL% dOdL__| /dVAOH% | -dVAH% | LOd Lod toa | TVA9 | AVA or |Aued | mssovery | id
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6007 F8N0.19) S007) SOV O10Z Woy SI HEP TVAD :330N
/199xq/S}10ddy/QSe Hue] A/SN’x7°9}8)S"9]}* [S18dgz//:0)}y 3B [LUNN IAHLISIZIT SVx3], SI 39.1Nn0G
“LEO'LOT Sf UONBIAIG TOAL [2P! OLL “786'LOT Sf UONEINdo VAD [B9pUy IW_L :330N

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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SO'LI- OT'ST- L9E‘9I- 68'I PLIE TTL 9°LI- T19 |ser 0b |St9°l6 fezg‘szr [TT8‘0zT da Bo}snO}] Sr
fos T 1r’9 £769 16? 9€78 06S 8°ZI- cle [vst 6872 |SOGVIT |rsooer |eze‘szT da wWoysno}] Lvl
L0'FI- 66°6- L8L‘OI- 60° 8489 Or T91- ele {TTI Lye |S6l'l6 |rrvoct |ssr‘ret a Boysnoy] v1
TL07- oS °TC- LEEHC- €8'I- £90€- L6L cvi- 3769 [9"ss 87 [sr9°e8 |st6‘oIt [rLs‘v9or ad uo}snoH Srl
LE97- 78°6C- L6I‘CE- Si E- SLLS- VL Tis 869  [E0S 6 VE |S8L°SL |eos‘sor |6ss‘I9T a wo}snoH rl
I8€ I1Z- €9'1Z- LSE“ET- S7Z0- Cer VOL v'9T- v'69 ores Lez |szo'v8|ecs‘ert |stz‘L91 ad uoysnoH ev
ITOI- v6'F1- LEl‘9T- st 9608- 8°09 L'€I- ose  |e1z €0c |Svs'l6 |ssz‘ert |irs‘6st ad woysnoy] al
OLEI- by'yI- 765‘ST- 39°0- 6€1I- [aia P6I- OLE [Z8T CEL |06E'%6 |ISeETT |s6r‘99I a Woysnoyy IvT
9S LE- ZL SE L9S'8E- sel S60 ELL ZLI- ssi [s'8s TLL |Stv'o9 |zee‘ztt |zez‘ozt a Woysnoy] orl
ZL TI- 68°9- CrP L- 8'P 9608 ZES L91- sse  J0'eT 91Z  |ORS‘OOT |szs‘ezt feEc‘szt a wo}snOT] 6€1
Ph Cr 8E0r- L09‘€4- S0'% Zrbe 9% 9°6z- SIs 10% Ste |SLev9 |ves‘zzt |6LocrZt ad woysnoH LET
16°LI- 8'ET- Lvr'vl- Sr 06SL €'8S ZLI- wir lor TEL |SEse6 |goettzt zzz'szi da Wo}snoyy T€T
Z0'€ VOL 818°L ZIP Z169 T'€6 st 169 |er9 €9Z |OOR'SIT |gsi‘szi_ jors‘rZt ad Texog] zl
I€7 8s9 80'L LTV BSTL 9°F6 9°€- 099 [rz SZ  |O60°SIT |cos‘ozt |soz‘rt a Iexog vl
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ssl 79 878°9 LY S6PL 6°08 18 Ter Tre Q0€ OLS HIT jeze'rcl |zer‘szt a wexog 0zI
OT'€ Or T- LIS‘T- ist 9S9L- 0'€6 vr L7w9 less ¢'8z |[S9r‘901 |uzrrit |186°6s1 da wexog 611
190 oe T- LOv'I- 16'I- 10ZE- 9°L6 9°T- L39 «49 [82  |SLS‘901 |éss‘o11 |oer'vor a Iexog SII
Sor £69 88h'L a4 978E €'S6 8° 66s |rLs EcE fOLP'SIT lezecel JeortZt a wexog OTT
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Pe Ue TEC L60°v?- 30°0- 6zI- L'¥s 9°07- csr l6Kz Ov |sss°es |zzs‘tIt |sos‘.91 a Aq seed orl
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IT 0€- 0'L7- 2O7‘62- LOE Lvs Lvl ¢LI- zoo |L'IS €SZ  |O8L'8L |sco‘stt |rse‘7Z1 a Aquy seyed 01
Ee S€- SE EE- ZLO‘9E- 861 ITE €'99 L1@- €b9 [Lt O'6E |OLOIL |zestzt |sr6‘ozt a Aq seed €01
ITZI- 88°EI- 766'v1- LLT- €L6C- 9°09 8°ZI- sz LI SSE 06676 |6oz‘oIT |r99°r9I da Ayu) quoue I, 10T
Z6'S- 6L'6- ZLS‘OI- L'E- P6r9- zss 8'FI- Tee lest 862 |OIVL6 |6zr'LIt |eri‘tor da Ayu seyed 001
[Se L- 96'01- ces TI- 8S'E- €009- Oves vTI- €bZ  |67I 67E |OST'96 § |esz'sTL |rEo‘T9T ad Ayu) JUS I, 56
I6L'87- S'€E- ZIZ9E- PL t- €S6L- £69 L'1@- LOL |0'6r GLZ |OLLIL |r99%sot |vs9‘esT ad Ayu WoUR I, 06
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6 €- 6£'8- LS0°6- Orr OLVL- 0°06 v9- Ly jess QTE |S76°86 [Ele TIT |19T‘09T a osed JA 8L
OS TI- 88°ST- tST‘LI- cer ZSTL- 9°16 v9- o9L {9°69 62 |OE806 rze'stt |sse‘oor a osed IA LL
JoS'L- 0€ZI- LLTZ‘EI- OL't- S88L- L'S6 L€- Els —_|c'es TIL |SOL'v6 |ese‘ort |zsz‘est a osed IA 9L
Jes €c- LT 8- LTZS'‘0E- PL 9F6L- 0°L6 8°Z- 816 10°68 68 SSV'LL |60z'c0l |169°6ST a osed | SL
A290 dOdL % | wonviaed | uoneaeq | wonumeg | uoneiAeg | dVAH% | dVAJH% | dVAH | dVADH | OB@UV
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LSS S78 €16°8 89°C 10SP 0°89 cr Oe! 68 VCL  |S68OIT Jose’sit |serzzT a sqmqng MAC 68
ve €0'€ 89T°E 697 POS Ors b'9- GET CL TOL [OST IIT |soe‘ozt [ivi‘zzt a sqingng MAG L9
189°6 6E TI E8EEl IL'7 ers Liss tr £6 zs O78 |S9ETZI [soot fost‘zzt u X.L jseotpnosg 1z
ILv bl 8£0°8 ELT v8SP '89 6'L- 0'SZ ULI ¥'99  |OZO°OTT [sro'rel |IZ7TLT a Wo \snoH 871
90°S- 97 7- trr'e- 08°7 £694 9'Sr (ais cre OIL 789 = |ORS*SOT |zt8‘oEt foge'zzI a Ayu seyed rT
18r'01- 79 L- ZET'8- S8'Z S8Ly 0'r9 €OI- $8 781 o'os josL’66 |oci‘izt |z7zr'zet u Wo \snoH SET
TT ‘0€- v0°LT- ZOC67- LOE Lvs Lvl ¢LI- c69 | Ts SZ |O8L'8L |seo‘stl |rse‘ZZ1 ad AWD seyeq vol
JO1'Z- 80'T 89o1'T STE SEES s79 v'ZT- OEE 907 yZS |OST’601 [999° eze’zzt u Wo\snoH ZEIT
OTST 9E°81 87861 OTE TILES 618 L'€- voz |L9T vive |OL8LZ1 |ssc‘set |so0‘ezt ad vary unsny 8r
460°Z1- 98°8- 79S'6- ETE (4443 Ors 0'61- ely jez €0OS |0zr'86 |serrzl |eso‘ezt ua Wo}snoH SEI
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9ZT JO 68 aed GL/TE/GO Pally T-G6GyUaWNI0q SAWC-TZ6Z0-AI-8T:T eased

 
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9ZT 0 06 Bed GT/TE/GO Pally T-G6GIUeWNI0q SAWC-TZ6Z0-AI-8T:T eased
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Case 1

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LE'S- L8°6- 799‘OI- ost OPSL- SLL €€- 6vl [911 TCS |OZELE [eve LIT |160°091 Uf} sainqns uoysnoy FJ 97
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TABLE 8

Texas Regions Using Whole State House Districts
Showing Gain or Loss of Districts Using CVAP as Population Base

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

as . Average Pct.
Region of State Present Districts Gain or Loss Deviation per
Districts Under CVAP | Under CVAP .,
District
Austin and Suburbs 9 9.6 0.6 6.59
San Antonio and Suburbs 11 11.9 0.9 8.14
Central Texas 13 14.1 1.1 8.4
Dallas County 14 12.8 -1.2 -8.59
Dallas Suburbs 12 12.7 0.7 5.94
Tarrant County 11 10.8 -0.2 -1.67
Harris County 24 22.1 -1.9 -8.11
Houston Suburbs 11 11.2 0.2 1.66
Northeast Texas 8 8.7 0.7 8.78
El Paso County 5 4.3 -0.7 -14.74
Rio Grande Valley and South Texas 14 12.1 -1.9 -13.58
Southeast Texas 5 5.7 0.7 13.04
West Texas 13 14.1 1.1 8.78
State Total 150 150.1 0.1

 

 

 

 

 

Note: There are small rounding errors.

Table 8 - Page 1 of 1

 
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APPENDIX 1
LEGAL PAPER - POPULATION DATABASES

When examining population databases for intrastate redistricting purposes it is important

to remember that one may be potentially talking about two sets of data; one used by the state to
draw up the plan and possibly another used by the courts to assess "one person one vote." The
courts have been clear that population databases in addition to the population database used to
Judge one person one vote are allowed. The most obvious and prominent example of this is in
Hawaii. Hawaii has an interesting factual situation. Because of the large number of military
personnel stationed on a variety of Naval, Marine, Army and Air Force installations it is possible
with little effort to draw districts which meet the one person one vote standard but only contain a
handful of voters. Virtually none of the military personnel in Hawaii are Hawaii voters.
Therefore, by grabbing a section of military population that would almost completely constitute a
legislative district and including it with a few registered voters, literally a single family could
elect a legislator. This is what was referred to in the 19th century as a "rotten borough." As the
court stated in Burns v. Gill, "if total population were to be the only acceptable criterion upon
which legislative representation could be based, in Hawaii grossly absurd and disastrous results
would flow... the factors of tourists and the military concentration in particular regions of
Oahu... are and apparently will be ever present in Hawaii."ss (Emphasis added) Hawaii has
attempted to solve this problem by requiring that the numbers of permanent residents and
registered voters are equalized in the state’s districts.

The courts examined this issue in a series of cases beginning with Burns v. Richardson.s6

In Richardson the Supreme Court stated that "we hold the that the present [Hawaii]
apportionment satisfies the Equal Protection Clause only because on this record it was found to
have produced a distribution of legislators not substantially different from that which would have
resulted from the use of a permissible population basis." The Court also observed in a footnote
from the same paragraph that the Fourth Circuit in Ellis v. Mayor & City of Baltimore had
"disapproved a registered voter’s basis for apportioning the governing council of Baltimore
Maryland. The Court of Appeals held that this basis was permissible only if it yielded results
substantially approximating those obtained by use of a total population base."57

In the 1980’s, a subsequent district court in Hawaii noted the E//is footnote and while

conceding that there might be another permissible population base (such as citizen population),
registered voters was not such a population base and total population as reported by the census
was. As a result, “the plan’s [Hawaii’s congressional and legislative] failure to replicate the
results of a total population-based apportionment creates at least a prima facie showing of
invalidity.” The court found that once the prima facie case had been made the burden was on the
state to justify the deviations.ss The Travis Court did not forbid the policy of equalizing the
voters between the districts but still required that it equalize total population as well.

There can be substantial deviations from an equal distribution of persons across districts
depending upon the population base used for apportionment. See Chen v. City of Houston,
(Thomas, J., dissenting) (stating that whether "population" for purposes of apportionment means
"total population" or "citizen voting age population” may "be dispositive of whether" the Equal
Protection Clause has been violated)s9; Garza v. County of Los Angeles, (Kozinski, J., concurring
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and dissenting in part) (recognizing the potential substantive difference between striving for
"equality of population” and "equality of voting strength" in the apportionment process, and
stating that "[a]pportionment by population can result in unequally weighted votes, while
assuring equality in voting power might well call for districts of unequal population.").60

The issue raised in these opinions is whether the mandates of equal protection are related

to equality of representation or equality of electoral power. The rhetoric of the apportionment
revolution of the 1960s was one person one vote. The Supreme Court talked virtually
exclusively about equality of votes. This becomes significant only when there is a disconnect
between equality of total population and numbers of voters or potential voters (for example, area
with large non-citizen populations or other large non-voting groups).

A similar set of issues is implicated by the recent consideration by many states of

legislation which would redistribute the census results so as to reallocate prisoners from the
prisons where they were held on the census day to the address which they listed as their
residence on the day of their incarceration. At first blush such reallocation would appear to be
constitutional, particularly since states like Kansas have reallocated college students from their
campuses back to their homes in Kansas.61 However, unlike Kansas, many of the states
considering prisoner reallocation have decided not to count out-of-state prisoners at all. This
would appear to conflict with the principles set down in the Hawaii cases. As the court noted in
the Travis case, having received a second congressional seat the state cannot proceed to ignore
the population which allowed this to occur.62 A similar issue would appear to be at work ifa
state simply removed all of the out-of-state prison population from its redistricting population
database. Prison population can have significant effects on state legislative districts particularly
in light of the intentional deviation manipulation issues highlighted by Larios case. Therefore,
we can almost certainly expect litigation of these issues in this redistricting cycle. The ultimate
constitutionality of the statutes will most likely depend on the method of the reallocation and
whether it creates a discriminatory manipulation of the deviations between the districts.

55 Burns v. Gill316 F.Supp. 1285, 1293 (D. Haw. 1970).

56 Burns v. Richardson 384 U.S. 73 (1966).

57 Ellis v. Mayor & City of Baltimore 352 F.2d 123, 130 (4th Cir. 1965).

58 Travis v. King, 552 F.Supp. 554, 572 (D. Haw. 1982).

59 Chen v. City of Houston,532 U.S. 1046, 2021 (2001) (Thomas, J., dissenting)

60 Garza v. County of Los Angeles,918 F.2d 763, 781 (9tn Cir. 1990) (Kozinski, J., concurring and dissenting in part).
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APPENDIX 2
Column Descriptions for Table 8
Column [Column Header Explanation
Column A [Dist Texas State House District #
Column B [Area of State Region of the State
Column C [Party Political Party of the Incument
Column D [Total Total 2010 Population (TPOP)
Column E [VAP Total 2010 Adult Population (VAP)
Column F JCVAP Total Citizen Voting Age Population
Column G ]PCT Anglo Percent CVAP Anglo
Column H [PCT HCVAP Percent Hispanic CVAP
Column | [PCT HVAP Percent Adult Hispanic VAP
Column J [%HVAP - %HCVAP Column | minus Column H
Column K [%HCVAP/%HVAP Column H divided by Column |
Column L [TPOP Deviation Deviation using TPOP
Column M[% TPOP Deviatin Percent Deviation using TPOP
Column N [CVAP Deviation Deviation using CVAP
Column O [% CVAP Deviation Percent Deviation using CVAP
Column P [% CVAP Dev - % TPOP Dev Column O - Column M

 

 
 

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(70D vo (co 10 (ZF) 10 (Z0+) 0'0 (convo (corso (c1H 68 (z'0+)0'0 (onto (GonET (v 1+) 788 (689°7+) Ssp°Le 607 €01 169°6ST SL
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WY 27-11 ST/91/20
Pouno; Sayepstaoy] sexo],

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QZT JO OOT e6ed GT/TE/GO PAIS T-G6GUeWND0q AWE-TZ6Z0-AD-8T:T aseD

Wd $7671 €10Z/17/90  8SEHNV Id
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STI-Pea
 

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(c 09 zo (coF v0 (ZoF 0 (€07) 90 (9or 9% (TOF) ZO (O1® €0L (T0F)0°0 ZopPeo0 OIDETL (OlD S11 (grs‘ZF) 086911 062971 9ZEZOT Z6
(7d) 10 (cov £0 (Zo) 9'°0 (ZoF 10 (Son zr (cor) S°0 (COLD 6SL (c oF E'0 (Tonz0 (@ono's (LT) O'EL (Lr9°7+) Sra*s0l 8y0°6L1 RERZOT 16
(7 10 (co¥) 1'0 (Zor) 70 (Z0F) 00 (corso (vor Eo (C1) 6 LZ (Z'0#)1'0 opto 38 &1A98I (s+) V'zs (vL77#) OLL TL v99°SOL p89°6ST 06
(L010 (ZoF) €0 (10+) €'0 (10+) 0'0 (6on)S2 ((Z0F)€0 (71) yt (1'0#)0°0 Gozo @iAs6 (30+) €°6 (7667) $6891 OSE SII BELCLI 68
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a to (v0) 10 (Zor) s0 (10+) 10 (conoL K70FL0 (60+) o's9 (Z0F)70 ZoHeo Wonse (ci) Lez (Sze) OZE“SOL O9E'SZL Eve vLI 48
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(76 70 (10®) 10 (10) z'0 (1-07) 00 (gon9L (Zor ZO (c1P eer (T0700 Gopto GW1Po +I (9 TF) £87 (91z°7#) 079°ZOL cerell Z8TO9T cg
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(1d) 10 (10o*) 10 (Zor 70 (107) 00 (corso (Zor) r0 (T1®) €6s (T-0F)1'0 Zopz0 8 wonrs (S 1) €ZE (0927+) STP*ETL EZ9'SI1 ET EST zs
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eo (AVAD) BonRindog asy suno, naznID dVAQ Smsud,) O10Z

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WY 27-11 ST/91/20
Pouno; Sayepstaoy] sexo],

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QZT JO TOT ebed GT/TE/GO PAllS T-G6GUeWND0q AWE-TZ6Z0-A0-8T:T aseD

Wd $7671 €10Z/17/90  8SEHNV Id
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STI-Pea
 

Ol} UI papnyoul ere JOLNSIp B UI UOTNBiNdod ey} Jo oO eT) sJOU YM sdnold yooTq [Ty “Voreinqey, [eroedg e ur [eas] dnos8 yoorq oy} 38 BIEp (VY AD) UONE[Ndod o8e Suma uozt10 peywumse pepraosd Aeamg ATUNUNUOD UROLBUTY ey],

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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